
6 So.3d 121 (2009)
In the Interest of E.G., M.C., and J.C., minor children,
S.R.L.,
v.
Department of Children and Family Services, and Guardian Ad Litem Program.
No. 2D08-2663.
District Court of Appeal of Florida, Second District.
April 17, 2009.
Jackson S. Flyte, Regional Counsel, Second District, and Christine A. Trakas, Assistant Regional Counsel, Office of Criminal Conflict and Civil Regional Counsel, Bartow, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Kimberly G. Gore, Assistant Attorney General, Tampa, for Appellee, Department of Children and Family Services.
Jennifer S. Paullin, Orlando, for Appellee, Guardian Ad Litem Program.
WHATLEY, Judge.
In this appeal by the Mother of the order terminating her parental rights to her three children, the Department of Children and Families and the guardian ad litem both concede error in the failure of the trial court to provide counsel for the indigent Mother in proceedings that led to the termination of her parental rights. *122 See In the Interest of D.B. and D.S., 385 So.2d 83, 87 (Fla.1980) ("We find that a constitutional right to counsel necessarily arises where the proceedings can result in permanent loss of parental custody."); Wofford v. Eid, 671 So.2d 859, 863 (Fla. 4th DCA 1996) ("Where a threat of permanent termination of parental rights exists, a trial court must appoint counsel for an indigent natural mother.").
Accordingly, we reverse the order terminating the Mother's parental rights and remand for further proceedings. Custody of the children shall not by reason of this opinion be changed, but the dependency process leading to any termination of the Mother's rights shall be conducted in accordance with required procedures. See Fla. R. Juv. P. 8.320(a)(2).
Reversed and remanded.
ALTENBERND and LaROSE, JJ., concur.
